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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DISTRICT

JOHNNY BANKS                                                                   PLAINTIFF

VS.                         CASE NO. 4:18CV00259 BSM

SHELBY HAWKINS, in his individual capacity,
et al.                                                                      DEFENDANTS

       Plaintiff’s Response to Defendants’ Motion for Summary Judgment

       Plaintiff respectfully responds to the Defendants’ Motion for Summary

Judgment. His responses and evidence are set forth in the following submissions:

       1. Plaintiff’s Responsive Brief in opposition to the issues raised by the defendants

except the issue of equal protection under the Fourteenth Amendment which plaintiff does

not pursue;

       2. Plaintiff’s Exhibits which are separately identified;

       3. Plaintiff’s Responses to Defendants’ Material Undisputed Facts; and

       4. Plaintiff’s Statement of Material Facts.

       Plaintiffs respectfully submits that based upon full consideration of the evidence and

applicable law, the defendants’ motion for summary judgment to avoid trial should be

denied. Plaintiff notes that he has filed a separate Motion for Summary Judgement before

the Court in this matter.


                                    Respectfully submitted,

                                    /s/John W. Walker
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